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 1   JIM D. SMITH
     ATTORNEY AT LAW
 2   221 S. Second Avenue
     Yuma, Arizona 85364
 3   (928) 783-7809
     Attorney No. 2661
 4   e-mail: jimsmith5@earthlink.net
 5   Attorney for Appellant
 6

 7

 8
                        IN THE UNITED STATES DISTRICT COURT
 9
                              FOR THE DISTRICT OF ARIZONA
10
     In Re:                                    )
11                                             )
     BARBARA LOUISE BRADEN,                    ) No. 2:19-CV-02707-DJH
12                                             )
                         Debtor.               )
13                                             )
     JIM D. SMITH,                             )
14                                             )
     Chapter 7 Trustee,                        )   Bankruptcy Case #
15                                             )   0:11-bk-09817-SHG
                         Appellant,            )
16         v.                                  )
                                               )    NOTICE OF APPEAL
17   BARBARA LOUISE BRADEN,                    ) TO U.S. COURT OF APPEALS
                                               )   FOR THE NINTH CIRCUIT
18                       Appellee.             )
                                               )
19
         Jim D. Smith, the Appellant herein, appeals to the United
20
     States     Court    of    Appeals   for    the   Ninth   Circuit        from    the
21
     Bankruptcy Remand Judgment (Doc# 13) and the Order (Doc #12)
22
     of the District Court for the District of Arizona entered in
23
     this case on July 24, 2020.
24

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 1       The Parties to the Judgment and Order appealed from are:
 2

 3         Jim D. Smith, Att’y               Barbara Louise Braden, pro se
           221 S. Second Avenue              38497 E. Lemon Dr.
 4
            Yuma, AZ 85364                   Wellton, AZ 85356
 5
           Dated this      27th   day of July, 2020.
 6

 7
                                           /s/ Jim D. Smith
 8
                                            Jim D. Smith
 9

10

11
     CERTIFICATE OF SERVICE
12

13
     Filed electronically with
14   the Court and served on
     parties of record by the
15   Court’s CM/ECF system this
      27th day of July, 2020.
16

17   COPY of the foregoing mailed
     this 27th day of July, 2020,
18   to:

19

20   Barbara L. Braden
     38497 E. Lemon Drive
21   Wellton, Arizona 85356
      (Debtor/Appellee)
22

23
     By: /s/ Jim D. Smith
24        Jim D. Smith

25

26


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